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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                          Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                            Defendant

                 JOINT STATUS REPORT AND MOTION TO CONTINUE

       The United States of America, by and through the U.S. Attorney for the District of

Columbia, and Michael T. Flynn, through his counsel, file this joint status report to provide the

Court with the current status of this matter and to seek a continuance for the filing of the parties’

joint proposal confirming that, when he filed his Supplemental Motion to Withdraw claiming

that Covington & Burling LLP’s representation was constitutionally ineffective, the defendant

waived the attorney-client privilege with respect to matters relating to his ineffectiveness claims.

Counsel are working together to set forth terms that are necessary, ethical, and appropriate to

enable the government to communicate with Covington & Burling LLP and address issues as to

which Mr. Flynn waived the attorney-client privilege.

       On February 10, 2020, the Court ordered the government to file a status report by no later

than 12:00 PM on February 20, 2020, informing the Court of the status of the government's

evaluation of the ineffective assistance of counsel claims in Mr. Flynn's Supplemental Motion to

Withdraw his Plea of Guilty and proposing briefing deadlines.

       On February 10, 2020, the Court also ordered the parties to meet and confer concerning

the government's motion for an Order from this Court confirming the waiver of the attorney-

client privilege with respect to Mr. Flynn's ineffective assistance of counsel claims against the

law firm of Covington & Burling LLP. The Court further ordered the parties to file a joint
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proposed order setting forth the terms of the waiver of the attorney-client privilege and the

authorization of disclosure of information with respect to Mr. Flynn's ineffective assistance of

counsel claims by no later than 12:00 PM on February 24, 2020.

        The government and counsel for Mr. Flynn met on Tuesday, February 18, 2020, to confer

about the waiver of attorney-client privilege. Prior to the meeting, the government drafted and

shared with defense counsel a proposed order confirming the waiver of attorney-client privilege.

The defense, in turn, drafted and shared with the government a proposed stipulation regarding

claims of ineffective assistance of counsel, which, under the defense proposal, would be

accompanied by a Court order.

        Based on that meeting, the parties are optimistic that they will be able to reach an

agreement as to a joint proposal by Friday, March 6, 2020. However, based on the issues before

the Court, the parties believe additional time is necessary to, among other things, meet and

confer to resolve any remaining disagreements as to the joint proposal.

        Should the parties be unable to reach complete agreement at that time, we anticipate that

we will be able to file a joint pleading with the Court setting forth the areas where we have

reached agreement, and delineating the areas where we are unable to reach agreement for review

by the Court. In the interest of permitting the parties time to reach a joint agreement, the parties

jointly request that the Court continue the deadline for the parties to file its joint proposal to

Friday, March 6, 2020, at 12:00 PM.

        The government further requests that the Court extend its deadline to provide the Court

with a proposed briefing schedule to permit the government to confer with attorneys from

Covington & Burling LLP once the Court has confirmed the waiver of the attorney-client

privilege with respect to the contested issues raised in the defendant’s motion to withdraw his



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guilty plea. The government anticipates that it will be able to provide a status report to the Court

concerning proposed briefing deadlines no later than March 20, 2020 at 12:00 PM.

       Wherefore the parties request that the Court continue the deadline for submission of a

joint proposal regarding attorney-client privilege waiver no later than Friday, March 6, 2020, at

12:00 PM. The government further requests that the Court extend the deadline by which the

government must provide the Court with a status report concerning proposed briefing deadlines

until Friday, March 20, 2020, at 12:00 PM.

                                                     Respectfully submitted,


  /s/ Jocelyn Ballantine                              /s/ Sidney Powell          _
 TIMOTHY J. SHEA                                     SIDNEY POWELL
 U.S. Attorney for the District of Columbia          JESSE BINNALL
                                                     Attorneys for Defendant
 JOCELYN BALLANTINE
 Assistant United States Attorney




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